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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Tennessee [|
Nicole Freeman
Plaintiff
v. Civil Action No. 2:23-cv-02193

Floyd Bonner Jr., et al.

Nee Nae ae eS

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: The Wade Firm, PLLC, Attn: Allan Wade
5050 Poplar Avenue, Suite 1028, Memphis, TN 38157

(Name of person to whom this subpoena is directed)

wv Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

Those documents listed in Exhibit A hereto.

Place Tools Gram, ee Date and Time: 7/15/2024 5:00 PM (CDT)

Memphis, Tennessee 38119

CO) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: oS
CLERK OF COURT 7 / f Ls
or / /)/ VF
fi" |
Wn N Ve KA
Signature of Clerk or Deputy Clerk /! Attorney’s signature i
The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Nicole Freeman , Who issues or requests this subpoena, are:

Jacob Webster Brown - 6000 Poplar Avenue, Suite 150, Memphis, TN 38119 - jbrown@appersoncrump.com -
901 756 6300 !

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:23-cv-02193

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any) G Wake Firw, VW v Mw, K\\an Wade’
on (date) 0\\0 \\nc

I served the subpoena by delivering a copy to the named person as follows: b Wsown\\

vi, Minn wade 50 rear kunwe, Swi \OLB, Words, TN 94161
on (date) QA 0i\2024- ;or

(1 I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 0 ‘\o \\We TF

Server's signature

Kurtig Brawl, 08S

Printed name and title

PO. re 145058, Garry 980A

Server's address

Additional information regarding attempted service, etc.:
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(a) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or atlormey who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ti) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information, or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary coursc of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as nol reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is

resolved.

(g) Contempt.

The court for the district where compliance is required—and also, afler a
motion is transferred, the issuing court-—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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EXHIBIT A TO SUBPOENA TO THE WADE FIRM, PLLC

I. DEFINITIONS
1. The “Criminal Defendants” refers to all or any the following persons, or any
attomey or representative acting or communicating on their behalf:
(a) Stevon Jones;
(b) Courtney Parham;
(c) Jeffrey Gibson;
(d) Anthony Howell;
(e) Damian Cooper;
(f) Ebonee Davis;
(g) Charles Gatewood;
(h) Lareko Donwel Elliot; and

(1) Chelsey Duckett.

an The “DCDAG” refers here to the office of the DAVIDSON COUNTY DISTRICT
ATTORNEY GENERAL, the state prosecutorial authority for Tennessee’s Twenty-Fifth Judicial

District, and includes any agent, attorney, employee, or officer thereof.

3. The “Law Office” refers here to THE WADE FIRM, PLLC, and includes any agent,

attorney, employee, member, or shareholder thereof.

4. “Recorded telephone call” includes an audio recording of the call or a transcript of

the call, either of which the Law Office may obtain from its office’s telephone system.

5. The “SCDAG?” refers here to the office of the SHELBY COUNTY DISTRICT ATTORNEY
GENERAL, the state prosecutorial authority for Tennessee’s Thirtieth Judicial District, and includes

any agent, attorney, employee, or officer thereof.
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6. The “TBI” refers here to the office of the TENNESSEE BUREAU OF INVESTIGATION,
a statewide investigatory authority, and includes any agent, attorney, employee, or officer thereof.
7. The “Tennessee Attorney General” refers to the office of Tennessee’s STATE

ATTORNEY GENERAL AND REPORTER, and includes any agent, attorney, employee, or officer

thereof.

8. “Written communication” shall mean here any form of communication involving
written or typed text. It shall include without limitation emails, letters, and text messages.
9. Unless otherwise noted, the document requests below are limited to the time period

beginning October 5, 2022 and ending October 5, 2023.

10. Inthe event the Law Office objects to producing any of the documents below under
an assertion of privilege or the work-product doctrine, the Law Office is instructed to provide an

appropriate privilege log containing enough specific information for the assertion of privilege or

other protection to be evaluated.
I. DOCUMENTS SOUGHT

1. All written communications between the Law Office and the SCDAG related to
Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution of all or

any of the Criminal Defendants.

2. All documents and things exchanged between the Law Office and the SCDAG
related to Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution

of all or any of the Criminal Defendants.

3. All recorded telephone calls between the between the Law Office and the SCDAG
related to Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution

of all or any of the Criminal Defendants.
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4. All written communications between the Law Office and the DCDAG related to
Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution of all or

any of the Criminal Defendants.

5, All documents and things exchanged between the Law Office and the DCDAG
related to Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution

of all or any of the Criminal Defendants.

6. All recorded telephone calls between the Law Office and the DCDAG related to
Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution of all or

any of the Criminal Defendants.

7. All written communications between the Law Office and the TBI related to Gershun
Freeman’s death, the investigation thereof, or to the investigation or prosecution of all or any of

the Criminal Defendants.

8. All documents and things exchanged between the Law Office and the TBI related
to Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution of all

or any of the Criminal Defendants.

9. All recorded telephone calls between the Law Office and the TBI discussing or
related to Gershun Freeman’s death, the investigation thereof, or to the investigation or prosecution

of all or any of the Criminal Defendants.

10. All written communications between the Law Office and all or any of the Criminal
Defendants, including any of their attorneys, discussing or relating to Gershun Freeman’s death,

the investigation thereof, or to the investigation or prosecution of all or any of the Criminal

Defendants.
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11. All documents and things exchanged between the Law Office and all or any of the
Criminal Defendants, including any of their attorneys, discussing or relating to Gershun Freeman’s

death, the investigation thereof, or to the investigation or prosecution of all or any of the Criminal

Defendants

12. All recorded telephone calls between the Law Office and any or all of the Criminal
Defendants, including their attorneys, discussing or relating to Gershun Freeman’s death, the

investigation thereof, or to the investigation or prosecution of all or any of the Criminal

Defendants.

13. All written communications between the Law Office and the Tennessee Attorney
General discussing or relating to Gershun Freeman’s death, the investigation thereof, or to the

investigation or prosecution of all or any of the Criminal Defendants.

14. All documents and things exchanged between the Law Office and the Tennessee
Attorney General discussing or relating to Gershun Freeman’s death, the investigation thereof, or

to the investigation or prosecution of all or any of the Criminal Defendants.

15. All recorded telephone calls between the Law Office and the Tennessee Attorney
General discussing or relating to Gershun Freeman’s death, the investigation thereof, or to the

investigation or prosecution of all or any of the Criminal Defendants.
